Case 2:90-cv-00520-KJM-SCR   Document 3434   Filed 12/23/08   Page 1 of 14




                        EXHIBIT K
                  Case 2:90-cv-00520-KJM-SCR               Document 3434           Filed 12/23/08      Page 2 of 14


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             9    Attorneys for Defendants

             10                                 IN THE UNITED STATES DISTRICT COURTS
                                              FOR THE EASTERN DISTRICT OF CALIFORNIA
             11
                                              AND THE NORTHERN DISTRICT OF CALIFORNIA
             12                UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
             13                   PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

             14 RALPH COLEMAN, et aI.,                             ) No. Civ S 90-0520 LKK-JFM P
                                                                   )
             15                 Plaintiffs,                        ) THREE-JUDGE COURT
                                                                   )
             16          vs.                                        ) RESPONSES TO PLAINTIFF COLEMAN'S
                                                                    ) FIRST SET OF REQUESTS FOR ADMISSION
             17     NOLD SCHWARZENEGGER, et aI.,                    ) TO DEFENDANT CATE
                                                                    )
             18                 Defendants                          )
                ~--------------------------)
             19 MARCIANO PLATA ,et aI.,     ) No. COl-1351 TEH
                                                                    )
             20                 Plaintiffs,                         ) THREE-JUDGE COURT
                         vs.                                        )
             21                                                     )
                  ARNOLD SCHWARZENEGGER, et aI.,
                                               )
             22                                )
                         Defendants            )
             23 1 - - - - - - - - - - - - - - )
             24
                                                                                                 RECEIVED
             25                                                                                   SEP 0 I) 2008
             26
                                                                                         Rosen, Bien & Galvan
             27
             28
                   RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUESTS FOR ADMISSION TO DEFENDANT CATE, NOS.: ClV S 90-0520 LKK-
[232635-1]                                                         JFM, COI-13S1 TEH
                  Case 2:90-cv-00520-KJM-SCR               Document 3434          Filed 12/23/08       Page 3 of 14


             1    PROPOUNDING PARTIES:                    Plaintiff Ralph Coleman

             2    RESPONDING PARTIES:                     Defendant Matthew Cate

             3    SET NUMBER:                             ONE

             4                                         PRELIMINARY STATEMENT

             5           Defendant Matthew Cate (Defendant) and counsel have not yet fully completed the

             6    investigation ofthe facts relating to this case and have not yet fully completed discovery in this action.

             7    All of the following responses are based solely upon information and documents which are presently

              8   available to, and specifically known by Defendant and disclose only those contentions which presently

             9    occur to Defendant. It is anticipated that further discovery, independent investigation, legal research

             10   and analysis will supply additional facts and lead to additions, changes, and variations from these

             11   responses.
             12           The following respqnses are given without prejudice to Defendant's right to produce

             13   subsequently discovered documents or to add, modify, or otherwise change or amend the responses.

             14   The information set forth is true and correct to the best knowledge of the Defendant as of this date, and

             15   is subject to correction for omissions, errors, or mistakes. These responses are based on records and

             16   information presently available to Defendant.

             17                               RESPONSE TO REQUESTS FOR ADMISSION

             18   REQUEST FOR ADMISSION NO.1:
             19           Admit that the DOCUMENTS attached as Exhibit A herein are authentic and genuine

             20   photographs taken of California Institute for Men ("CIM").

             21   RESPONSE TO REQUEST FOR ADMISSION NO.1:

             22           Objection. This request seeks information that is not relevant to a claim or defense at issue in

             23   this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the

             24   photographs were taken. Furthermore, this request requires a response that is more properly sought

             25   from parties or persons other than this responding Defendant.

             26
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             28
                                                                         -1-
                    RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT CATE, NOS.: ClV S 90-0520 LKK-
[232656-1]                                                         JFM, COI-1351 TEH
                  Case 2:90-cv-00520-KJM-SCR                Document 3434          Filed 12/23/08       Page 4 of 14


             1            Subject to, and without waiving the above objections, Defendant responds to this request as
             2    follows: Defendant admits upon information and beliefthat these photographs were taken at the

             3    identified facility.

             4    REQUEST FOR ADMISSION NO.2:
             5            Admit that the DOCUMENTS attached as Exhibit A herein depict actual conditions at ClM at
             6    the time the photographs were taken.

             7    RESPONSE TO REQUEST FOR ADMISSION NO.2:
              8           Objection. This request seeks information that is not relevant to a claim or defense at issue in

             9    this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the
             10   photographs were taken. Furthermore, this request is vague and ambiguous as to the terms "actual

             11   conditions." Moreover, this request requires a response that is more properly sought from parties or

             12   persons other than this responding Defendant.

             13           Subject to, and without waiving the above objections, Defendant responds to this request as

             14   follows: Defendant admits upon information and belief that these photographs depict pictures taken at

             15   the identified facility, and denies upon lack of information and belief the remaining portion of this

             16   request.

             17   REQUEST FOR ADMISSION NO.3:
             18            Admit that the DOCUMENTS attached as Exhibit A herein were no~ staged and do not involve

             19   the use of actors.
             20   RESPONSE TO REQUEST FOR ADMISSION NO.3:
             21              Objection. This request seeks information that is not relevant to a claim or defense at issue in

             22   this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the

             23   photograpQ.s were taken. Furthermore, this request is vague and ambiguous as to the terms "staged"

             24   and the "use of actors." Moreover, this request is compound and could require multiple conflicting

             25   responses. Finally, this request requires a response that is more properly sought from parties or

             26   persons other than this responding Defendant.

             27              Subject to, and without waiving the above objections, upon information and belief Defendant
             28   responds to this request as follows: Admit.
                                                                         -2-
                    RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT CATE, NOS.: CIV S 90-0520 LKK-
[232656-1]                                                         JFM, COl-13S1 TEH
                  Case 2:90-cv-00520-KJM-SCR               Document 3434           Filed 12/23/08       Page 5 of 14


             1    REQUEST FOR ADMISSION NO.4:
             2           Admit that the DOCUMENTS attached as Exhibit A herein were displayed on YOUR website

             3    as of August 12,2008.

             4    RESPONSE TO REQUEST FOR ADMISSION NO.4:

             5           Objection. This request seeks information that is not relevant to a claim or defense at issue in

             6    this lawsuit. Additionally, this request is vague and ambiguous as to the terms "displayed on YOUR

             7    website" without providing any further descriptive information. Furthermore, this request is

             8    compound and could require multiple conflicting responses. Moreover, this request requires a

             9    response that is more properly sought from parties or persons other than this responding Defendant.

             10           Subject to, and without waiving the above objections, upon information and belief Defendant

             11   responds to this request as follows: Defendant is unable to admit or deny the content ofthe request.

             12   REQUEST FOR ADMISSION NO.5:
             13           Admit that the DOCUMENTS attached as Exhibit A herein were displayed on YOUR website

             14   with information stating they were taken at CIM on August 7, 2006.

             15   RESPONSE TO REQtJEST FOR ADMISSION NO.5:

             16           Objection. This request seeks information that is not relevant to a claim or defense at issue in

             17   this lawsuit. Additionally, this request is vague and ambiguous as to the terms "displayed on YOUR

             18   website" and "information." Furthermore, this request is compound and could require multiple

             19   conflicting responses. Moreover, this request requires a response that is more properly sought from

             20   parties or persons other than this responding Defendant.

             21           Subject to, and without waiving the above objections, upon information and belief Defendant

             22   responds to this request as follows: Defendant is unable to admit or deny the content of the request.

             23   REQUEST FOR ADMISSION NO.6:
             24           Admit that the DOCUMENTS attached as Exhibit B herein are authentic and genuine photos of

             25   California State Prison- Solano ("Solano").

             26   RESPONSE TO REQUEST FOR ADMISSION NO.6:

             27
             28
                                                                          -3-
                    RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT CATE, NOS.: ClY S 90-0520 LKK-
[23265&-1]
                                                                   JFM, COI-l3Sl TEH
                  Case 2:90-cv-00520-KJM-SCR               Document 3434           Filed 12/23/08       Page 6 of 14


             1            Objection. This ~equest seeks information that is not relevant to a claim or defense at issue in
             2    this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the

             3    photographs were taken. Furthermore, this request requires a response that is more properly sought

             4    from parties or persons other than this responding Defendant.

             5            Subject to, and without waiving the above objections, Defendant responds to this request as

             6    follows: Defendant admits upon information and belief that these photographs were taken at the

             7    identified facility.

              8   REQUEST FOR ADMISSION NO.7:
             9            Admit that the DOCUMENTS attached as Exhibit B herein depict actual conditions at Solano

             10   at the time the photographs were taken.

             11   RESPONSE TO REQUEST FO~ ADMISSION NO.7:
             12           Objection. This request seeks information that is not relevant to a claim or defense at issue in

             13   this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the

             14   photographs were taken. Furthermore, this request is vague and ambiguous as to the terms "actual

             15   conditions." Moreover, this request requires a response that is more properly sought from parties or

             16   persons other than this responding Defendant.
             17            Subject to, and without waiving the above objections, Defendant responds to this request as

             18   follows: Defendant admits upon information and belief that these photographs depict pictures taken at

             19   the identified facility, and denies upon lack of information and belief the remaining portion of this

             20   request.

             21   REQUEST FOR ADMISSION NO.8:
             22            Admit that the DOCUMENTS attached as Exhibit B herein were not staged and do not involve

             23   the use of actors.

             24    RESPONSE TO REQUEST FOR ADMISSION NO.8:
             25              Objection. This request seeks information that is not relevant to a claim or defense at issue in

             26    this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the

             27    photographs were taken. Furthermore, this request is vague and ambiguous as to the terms "staged"

             28    and the "use of actors." Moreover, this request is compound and could require multiple conflicting
                                                                         -4-
                    RESPONSES TO PLAlNTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT CATE, NOS.: CIV S 90-0520 LKK-
[232656-1)                                                         JFM, COJ-135J TEH
                   Case 2:90-cv-00520-KJM-SCR                   Document 3434              Filed 12/23/08   Page 7 of 14


             1    responses. Finally, this request requires a response that is more properly sought from parties or

             2    persons other than this responding Defendant.
             3               Subject to, and without waiving the above objections, upon information and belief Defendant

             4    responds to this request as follows: Admit.

             5    REQUEST FOR ADMISSION NO.9:
             6               Admit that the DOCUMENTS attached as Exhibit B herein were displayed on YOUR website

             7    as of August 12,2008.

              8   RESPONSE TO REQUEST FOR ADMISSION NO.9:
             9               Objection. This request seeks information that is not relevant to a claim or defense at issue in
         10       this lawsuit. Additionally, this request is vague and ambiguous as to the terms "displayed on YOUR
             11   website" without providing any further descriptive information. Furthermore, this request is

             12   compound and could require multiple conflicting responses. Moreover, this request requires a

             13   response that is more properly sought from parties or persons other than this responding Defendant.

             14               Subject to, and without waiving the above objections, upon information and belief Defendant

             15   responds to this request as follows: Defendant is unable to admit or deny the content of the request.

             16   REQUEST FOR ADMISSION NO. 10:
             17               Admit that the DOCUMENTS attached as Exhibit B herein were displayed on YOUR website

             18   with information stating they were taken at Solano on August 7, 2006.

             19   RESPONSE TO REQUEST FOR ADMISSION NO. 10:
             20               Objection. This request seeks information that is not relevant to a claim or defense at issue in

             21   this lawsuit. Additionally, this request is vague and ambiguous as to the terms "displayed on YOUR

             22    website" and "information." Furthermore, this request is compound and could require multiple

             23    conflicting responses. Moreover, this request requires a response that is more properly sought from

             24    parties or persons other than this responding Defendant.
             25               Subject to, and without waiving the above objections, upon information and belief Defendant

             26    responds to this request as follows: Defendant is unable to admit or deny the content of the request.

             27    II
             28    II
                                                                             -5-
                        RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT CATE, NOS.: CIV S 90-0520 LKK-

[232656-1]                                                             JFM, COl-1351 TEH
                   Case 2:90-cv-00520-KJM-SCR                 Document 3434              Filed 12/23/08   Page 8 of 14


             1     REQUEST FOR ADMISSION NO. 11:
             2             Admit that the DOCUMENT attached· as Exhibit C herein is an authentic and genuine
             3     photograph of Mule Creek State Prison ("MCSP").

             4     RESPONSE TO REQUEST FOR ADMISSION NO. 11:
             5             Objection. This request seeks information that is not relevant to a claim or defense at issue in
             6     this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the
             7     photograph was taken. Furthermore, this request requires a response that is more properly sought from
             8     parties or persons other than this responding Defendant.

             9                 Subject to, and without waiving the above objections, Defendant responds to this request as
             10    follows: Defendant admits upon information and belief that the photograph was taken at the identified
             11    facility.

             12    REQUEST FOR ADMISSION NO. 12:
             13                Admit that the DOCUMENT attached as Exhibit C herein depicts actual conditions at MCSP at
             14    the time the photograph was taken.

             15    RESPONSE TO REQUEST FOR ADMISSION NO. 12:
             16                Objection. This request seeks information that is not relevant to a claim or defense at issue in
             17    this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the
             18    photograph was taken. Furthermore, this request is vague and ambiguous as to the terms "actual

             19·   conditions." Moreover, this request requires a response that is more properly sought from parties or
             20    persons other than this responding Defendant.

             21                Subject to, and without waiving the above objections, Defendant responds to this request as
             22    follows: Defendant admits upon information and belief that these photographs depict pictures taken at

             23    the identified facility, and denies upon lack of information and belief the remaining portion of this
             24    request.

             25    REQUEST FOR ADMISSION NO. 13:
             26                Admit that the DOCUMENT attached as Exhibit C herein was not staged and does not involve
             27    the use of actors.
             28    RESPONSE TO REQUEST FOR ADMISSION NO. 13:
                                                                           -6-
                     RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT CATE, NOS.: elv S 90-0520 LKK-
(232656-1J                                                           JFM, COI-1351 TEH
                   Case 2:90-cv-00520-KJM-SCR              Document 3434           Filed 12/23/08       Page 9 of 14


             1           Objection. This request seeks information that is not relevant to a claim or defense at issue in
             2    this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the

             3    photograph was taken. Furthermore, this request is vague and ambiguous as to the terms "staged" and

             4    the "use of actors." Moreover, this request is compound and could require multiple conflicting
             5    responses. Finally, this request requires a response that is morepropedy sought from parties or

             6    persons other than this responding Defendant.

             7            SUbject to, and without waiving the above objections, upon information and belief Defendant

             8    responds to this request as follows: Admit.

             9    REQUEST FOR ADMISSION NO. 14:
             lO           Admit that the DOCUMENT attached as Exhibit C herein was displayed on YOUR website as

             11   of August 12, 2008.

             12   RESPONSE TO REQUEST FOR ADMISSION NO. 14:
             13            Objection. This request seeks information that is not relevant to a claim or defense at issue in

             14   this lawsuit. Additionally, this request is vague and ambiguous as to the terms "displayed on YOUR
             15   website" without providing any further descriptive information. Furthermore, this request is

             16   compound and could require multiple conflicting responses. Moreover, this request requires a

             17   response that is more properly sought from parties or persons other than this responding Defendant.

             18           Subject to, and without waiving the above objections, upon information and belief Defendant

             19   responds to this request as follows: Defendant is unable to admit or deny the content of the request.

             20   REQUEST FOR ADMISSION NO. 15:
             21           Admit that the DOCUMENT attached as Exhibit C herein was displayed on YOUR website

             22   with information stating it was taken at MCSP on July 19,2006.

             23    RESPONSE TO REQUEST FOR ADMISSION NO. 15:
             24           Objection. This request seeks information that is not relevant to a claim or defense at issue in

             25    this lawsuit. Additionally, this request is vague and ambiguous as to the terms "displayed on YOUR
             26    website" and "information." Furthermore, this request is compound and could require multiple

             27    conflicting responses. Moreover, this request requires a response that is more properly sought from

             28    parties or persons other than this responding Defendant.
                                                                         -7-
                    RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT CATE, NOS.: CIV S 90-0520 LKK-
[232656-1J                                                         JFM, COl-1351 TEH
                  Case 2:90-cv-00520-KJM-SCR              Document 3434           Filed 12/23/08       Page 10 of 14



             1           Subject to, and without waiving the above objections, upon information and belief Defendant

             2    responds to this request as follows: Defendant is unable to admit or deny the content of the request.

             3    REQUEST FOR ADMISSION NO. 16:
             4           Admit that the DOCUMENTS attached as Exhibit D herein are authentic and genuine

             5    photographs of California Institute for Women ("CIW").

             6 RESPONSE TO REQUEST FOR ADMISSION NO. 16:
             7            Objection. This request seeks information that is not relevant to a claim or defense at issue in

             8    this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the

             9    photographs were taken. Furthermore, this request requires a r:esponse that is more properly sought

         10       from parties or persons other than this responding Defendant.

             11           Subject to, and without waiving the above objections, Defendant responds to this request as

             12   follows: Defendant admits upon information and beliefthat these photographs were taken at the

             13   identified facility.

             14   REQUEST FOR ADMISSION NO. 17:
             15           Admit that the DOCUMENTS attached as Exhibit D herein depict actual conditions at CIW at

             16   the time the photographs were taken.

             17   RESPONSE TO REQUEST FOR ADMISSION NO. 17:

             18           Objection. This request seeks information that is not relevant to a claim or defense at issue in

             19   this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the

             20   photograph was taken. Furthermore, this request is vague and ambiguous as to the terms "actual

             21   conditions." Moreover, this request requires a response that is more properly sought from parties or

             22   persons other than this responding Defendant.

             23            Subject to, and without waiving the above objections, Defendant responds to this request as

             24    follows: Defendant admits upon information and belief that these photographs depict pictures taken at

             25    the identified facility, and denies upon lack of information and belief the remaining portion of this

             26    request.

             27    REQUEST FOR ADMISSION NO. 18:
             28            Admit that the DOCUMENTS attached as Exhibit D herein were not staged and do not involve
                                                                         -8-
                    RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT CATE, NOS.: CIV S 90-0520 LKK-
[232656-1]                                                         JFM, COl-13S1 TEH
                  Case 2:90-cv-00520-KJM-SCR               Document 3434           Filed 12/23/08       Page 11 of 14



             1    the use of actors.

             2    RESPONSE TO REQUEST FOR ADMISSION NO. 18:

             3            Objection. This request seeks information that is not relevant to a claim or defense at issue in

             4    this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the

             5    photographs were taken. Furthermore, this request is vague and ambiguous as to the terms "staged"

             6    and the "use of actors." Moreover, this request is compound and could require multiple conflicting

             7    responses. Finally, this request requires a response that is more properly sought from parties or
             8    persons other than this responding Defendant.

             9            Subject to, and without waiving the above objections, upon information and belief Defendant
         10       responds to this request as follows: Admit.

         11       REQUEST FOR ADMISSION NO. 19:
             12           Admit that the DOCUMENTS attached as Exhibit D herein were displayed on YOUR website

             13   as of August 12, 2008.

             14   RESPONSE TO REQUEST FOR ADMISSION NO. 19:

             15            Objection. This request seeks information that is not relevant to a claim or defense at issue in

             16   this lawsuit. Additionally, this request is vague and ambiguous as to the terms "displayed on YOUR

             17   website" without providing any further descriptive information. Furthermore, this request is

             18   compound and could require multiple conflicting responses. Moreover, this request requires a

             19   response that is more properly sought from parties or persons other than this responding Defendant.

             20            Subject to, and without waiving the above objections, upon information and belief Defendant

             21    responds to this request as follows: Defendant is unable to admit or deny the content of the request.

             22    REQUEST FOR ADMISSION NO. 20:
             23            Admit that the DOCUMENTS attached as Exhibit D herein were displayed on YOUR website

             24    with information stating they were taken at CIW on August 10, 2006.

             25    RESPONSE TO REQUEST FOR ADMISSION NO. 20:

             26            Objection. This request seeks information that is not relevant to a claim or defense at issue in

             27    this lawsuit. Additionally, this request is vague and ambiguous as to the terms "displayed on YOUR
             28    website" and "information." Furthermore, this request is compound and could require multiple
                                                                          -9-
                     RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT CATE, NOS.: CIV S 90-0520 LKK-

[232656-1J
                                                                    JFM, COI-135J TEH
                  Case 2:90-cv-00520-KJM-SCR              Document 3434           Filed 12/23/08       Page 12 of 14


             1    conflicting responses. Moreover, this request requires a response that is more properly sought from

             2    parties or persons other than this responding Defendant.

             3           Subject to, and without waiving the above objections, upon information and belief Defendant

             4    responds to this request as follows: Defendant is unable to admit or deny the content of the request.

             5    REQUEST FOR ADMISSION NO. 21:
             6           Admit that the DOCUMENTS attached as Exhibit E herein are authentic and genuine photos of

             7    California State Prison- Los Angeles ("LAC").

             8    RESPONSE TO REQUEST FOR ADMISSION NO. 21:

             9            Objection. This request seeks information that is not relevant to a claim or defense at issue in

         10       this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the

             11   photographs were taken. Furthermore, this request requires a response that is more properly sought

             12   from parties or persons other than this responding Defendant.

             13           Subject to, and without waiving the above objections, Defendant responds to this request as

             14   follows: Defendant admits upon information and belief that these photographs were taken at the

             15   identified facility.

             16   REQUEST FOR ADMISSION NO. 22:
             17           Admit that the DOCUMENTS attached as Exhibit E herein depict actual conditions at LAC at

             18. the time the photographs were taken.

             19   RESPONSE TO REQUEST FOR ADMISSION NO. 22:

             20           Objection. This request seeks information that is not relevant to a claim or defense at issue in

             21   this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the

             22    photograph was taken. Furthermore, this request is vague and ambiguous as to the terms "actual

             23    conditions." Moreover, this request requires a response that is more properly sought from parties or

             24    persons other than this responding Defendant.

             25            Subject to, and without waiving the above objections, Defendant responds to this request as

             26    follows: Defendant admits upon information and belief that these photographs depict pictures taken at

             27    the identified facility, and denies upon lack of information and belief the remaining portion of this

             28    request.
                                                                         -10-
                    RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT CATE, NOS.: CIV S 90-0520 LKK-
[232656-1J                                                         JFM, COI-1351 TEH
                  Case 2:90-cv-00520-KJM-SCR                  Document 3434          Filed 12/23/08       Page 13 of 14


             1    REQUEST FOR ADMISSION NO. 23:
             2              Admit that the DOCUMENTS attached as Exhibit E herein were not staged and do not involve
             3    the use of actors.

             4    RESPONSE TO REQUEST FOR ADMISSION NO. 23:
             5              Objection. This request seeks information that is not relevant to a claim or defense at issue in
             6    this lawsuit. Additionally, this request is vague and ambiguous in that it does not state the date the
             7    photographs were taken. Furthermore, this request is vague and ambiguous as to the terms "staged"
              8   and the "use of actors." Moreover, this request is compound and could require mUltiple conflicting
             9    responses. Finally, this request requires a response that is more properly sought from parties or
             10   persons other than this responding Defendant.
             11             Subject to, and without waiving the above objections, upon information and belief Defendant
             12   responds to this request as follows: Admit.

             13   REQUEST FOR ADMISSION NO. 24:
             14              Admit that the DOCUMENTS attached as Exhibit E herein were displayed on YOUR website
             15   as of August 12,2008.

             16   RESPONSE TO REQUEST FOR ADMISSION NO. 24:
             17              Objection. This request seeks information that is not relevant to a claim or defense at issue in
             18   this lawsuit. Additionally, this request is vague and ambiguous as to the terms "displayed on YOUR
             19   website" without providing any further descriptive information. Furthermore, this request is
             20   compound and could require multiple conflicting responses. Moreover, this request requires a

             21   response that is more properly sought from parties or persons other than this responding Defendant.

             22              Subject to, and without waiving the above objections, upon information and belief Defendant
             23   responds to this request as follows: Defendant is unable to admit or deny the content of the request.

             24   REQUEST FOR ADMISSION NO. 25:
             25              Admit that the DOCUMENTS attached as Exhibit E herein were displayed on YOUR website
             26   with information stating they were taken at LAC on August 7, 2006.

             27   II
             28   II
                                                                           -11-
                       RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT CATE, NOS.: ClV S 90-0520 LKK-
[232656-1J                                                            JFM, COI-1351 TEH
                  Case 2:90-cv-00520-KJM-SCR              Document 3434          Filed 12/23/08        Page 14 of 14


              1   REQUEST FOR ADMISSION NO. 30:
              2          Admit that the DOCUMENT attached as Exhibit F herein was displayed on YOUR website at

              3   http://www.cdcr.ca.govlNews/ Multi_Media.html under the title "2007 Prison Reform and
              4   Rehabilitation Initiative" on August 14,2008.

              5   RESPONSE TO REQUEST FOR ADMISSION NO. 30:

              6          Objection. This request seeks information that is not relevant to a claim or defense at issue in

              7   this lawsuit. Additionally, this request is vague and ambiguous as to the terms "displayed on YOUR

              8   website," and "title." Furthermore, this request is compound and could require multiple conflicting

              9   responses. Moreover, this request requires a response that is more properly sought from parties or
             10   persons other than this responding Defendant.

             11           Subject to, and without waiving the above objections, upon information and belief Defendant

             12   responds to this request as follows: Defendant admits upon information and beliefthat the video

             13   described as Exhibit F could be accessed on the CDCR website atthe address identified, and is unable
             14   to is unable to admit or deny the remaining content of the request.

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             16   Dated: September 4,2008                         Respectfully submitted,
             17                                                   EDMUND G. BROWN JR.
                                                                  Attorney General of the State of California
             18
                                                                  DAVID S. CHANEY
             19                                                   Chief Assistant Attorney General
             20                                                   ROCHELLE C. EAST
                                                                  Senior Assistant Attorney General
             21
                                                                  JONATHAN L. WOLFF
             22                                                   Supervising Deputy Attorney General
             23

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             25
                                                                  Deputy Attorney General
             26                                                   Attorneys for Defendants
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                   RESPONSES TO,PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT CATE, NOS,: CIV S 90-0520 LKK-
[232656-1]                                                        JFM, COI-l3Sl TEH
